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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 KPot Inc.

    vs.                                                   Civil Action

 88 K-Pot Korean BBQ & Hot                                No. _______
 Pot LLC d/b/a 88 K-Pot Limited
 Liability Company


                                   COMPLAINT

    Plaintiff operates a successful chain of Korean restaurants with dozens of

locations. Plaintiff obtained a registered servicemark for the word “KPOT” to

market restaurants. Recently, Defendant created its own restaurant under the name

“88 K-Pot.” Despite written demand, Defendant refuses to stop using “K-Pot” to

market its restaurant. Plaintiff seeks an injunction prohibiting future use of “K-

Pot” or similar phrasing and money damages for Defendant’s willful infringement

of Plaintiff’s registered servicemark.


                                    THE PARTIES

          1.     Plaintiff KPot Inc. (“KPot”) is a New York Domestic Business

Corporation.

          2.     KPot’s address is 133–38 Sanford Avenue, Unit 5B, Flushing, NY

11355.

          3.     Defendant 88 K-Pot Korean BBQ & Hot Pot LLC d/b/a 88 K-Pot

Limited Liability Company (“Infringer”) is a Pennsylvania Limited Liability

Company.




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        4.      Infringer’s address registered with the Department of State of the

Commonwealth of Pennsylvania is 3926 Nazareth Pike, Suite 12-14 Bethlehem,

PA 18020, which is also Infringer’s principal place of business.


                              JURISDICTION AND VENUE

        5.      This Court has personal jurisdiction over Infringer because

Infringer is a Pennsylvania company and because its principal place of business is

within the Commonwealth of Pennsylvania.

        6.      This Court has “federal question” subject-matter jurisdiction under

28 U.S.C. § 1331 because this Complaint’s sole claims are for Infringer’s violation

of the Lanham Act, 15 U.S.C. § 1051, et seq.

        7.      Venue is proper in the Eastern District of Pennsylvania because

Infringer’s principal place of business is within the district and because a

substantial part of the infringing activities took place within the district.


                                    BACKGROUND

        8.      KPot incorporated in June 2017.

        9.      KPot operates a chain of Korean restaurants, with dozens of

locations throughout the United States.

        10.     KPot’s business is particularly concentrated along the eastern

seaboard, with a number of locations in Pennsylvania, New York, and New Jersey.

        11.     KPot’s website is thekpot.com.

        12.     In 2018, KPot secured a trademark protecting the use of the word

“KPOT” to market restaurants (the “Mark”).



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       13.      The Mark is registered with the “principal register” within the

meaning of Title 15, Chapter 22, Subchapter I of the United States Code.

       14.      The registration is attached as Exhibit A.

       15.      Under 15 U.S.C. § 1115(a): “The registration is prima facie

evidence of the validity of the registered mark and of the registration of the mark,

of the registrant’s ownership of the mark, and of the registrant’s exclusive right to

use the registered mark in commerce on or in connection with the goods or

services specified in the registration subject to any conditions or limitations stated

therein.”

       16.      Since then, KPot has sought additional trademarks protecting its

stylized logos. The applications remaining pending.

       17.      Infringer organized in October 2022.

       18.      Infringer intends to operate a single restaurant in Bethlehem,

Pennsylvania.

       19.      Infringer will serve food of the same cuisine as KPot’s.

       20.      Will Infringer has not yet opened for business, it uses the phrases

“88 K-Pot” to market its restaurant—not only on signage, online menus, and its

website but also on billboards.

       21.      Infringer’s website is 88kpot.com.

       22.      Not only did Infringer copy KPot’s protected servicemark, but

Infringer also styles its logo to resemble KPot’s logo.

       23.      KPot displays the text inside a red circle. The “P” and the “T” are in

larger print than the “o.”




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       24.     Similarly, Infringer shows Korean characters inside a red circle and

displays the “PoT” text in similar sizing as does KPot.


                                    THE DISPUTE

       25.     On September 15, 2022—soon after discovering the infringement—

KPot’s in-house legal counsel wrote to Infringer.

       26.     The letter demanded that Infringer stop using the Mark to market

Infringer’s services.

       27.     Later, Infringer’s counsel wrote back, expressing Infringer’s refusal

to comply with the cease-and-desist letter.

       28.     The letter claimed that “KPOT” was similar to the phrase “K-pop,”

which is a term used to describe Korean pop music. For reasons that the letter does

not make clear, that supposedly entitled to Infringer to continue using KPot’s

registered servicemark “KPOT.”


                                  COUNT I
             Trademark infringement in violation of the Lanham Act

       29.     15 U.S.C. § 1114(1) provides:

                   (1)      Any person who shall, without the consent of
           the registrant--

                           (a)    use in commerce any reproduction,
           counterfeit, copy, or colorable imitation of a registered mark
           in connection with the sale, offering for sale, distribution, or
           advertising of any goods or services on or in connection with
           which such use is likely to cause confusion, or to cause
           mistake, or to deceive; or




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                          (b)     reproduce, counterfeit, copy, or
          colorably imitate a registered mark and apply such
          reproduction, counterfeit, copy, or colorable imitation to
          labels, signs, prints, packages, wrappers, receptacles or
          advertisements intended to be used in commerce upon or in
          connection with the sale, offering for sale, distribution, or
          advertising of goods or services on or in connection with which
          such use is likely to cause confusion, or to cause mistake, or to
          deceive,

          shall be liable in a civil action by the registrant for the
          remedies hereinafter provided.

       30.     The Mark is valid and legally protectible.

       31.     KPot owns the Mark.

       32.     Infringer’s use of the term “K-Pot” is likely to cause confusion

concerning the origin of Infringer’s services by misleading consumers into

believing that Infringer’s services are those of KPot.

       33.     Infringer’s wrongful acts were willful.

       34.     Under 15 U.S.C. § 1117, KPot is entitled either to statutory

damages or up to three times its actual damages.

       35.     Actual damages include: (a) the defendant's profits, (b) any

damages sustained by the plaintiff, and (c) the costs of the action.

       36.     As to statutory damages, plaintiffs are entitled to up to $2,000,000

for willful violation or up to $200,000 for non-willful violation.

       37.     This Court may also award attorney’s fees in “exceptional cases.”

    WHEREFORE, KPot requests statutory damages of $2,000,000 or three times its

actual damages, whichever is greater; attorney’s fees; court costs; costs of




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litigation; reasonable attorney’s fees; and any other relief that this Court deems just

and proper.


                                   COUNT II
               Unfair competition in violation of the Lanham Act

       38.     15 U.S.C. § 1125(a) provides:

          (a) Civil action

                 (1)     Any person who, on or in connection with any
          goods or services, or any container for goods, uses in
          commerce any word, term, name, symbol, or device, or any
          combination thereof, or any false designation of origin, false or
          misleading description of fact, or false or misleading
          representation of fact, which--

                         (A)     is likely to cause confusion, or to cause
          mistake, or to deceive as to the affiliation, connection, or
          association of such person with another person, or as to the
          origin, sponsorship, or approval of his or her goods, services,
          or commercial activities by another person, or

                         (B)   in commercial advertising or promotion,
          misrepresents the nature, characteristics, qualities, or
          geographic origin of his or her or another person’s goods,
          services, or commercial activities,

          shall be liable in a civil action by any person who believes that
          he or she is or is likely to be damaged by such act.

       39.     The Mark is valid and legally protectible.

       40.     KPot owns the Mark.

       41.     Infringer’s use of the term “K-Pot” is likely to cause confusion

concerning the origin of Infringer’s services by misleading consumers into

believing that Infringer’s services are those of KPot.



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       42.     Infringer’s wrongful acts were willful.

       43.     Under 15 U.S.C. § 1117, KPot is entitled either to statutory

damages or up to three times its actual damages.

       44.     Actual damages include: (a) the defendant's profits, (b) any

damages sustained by the plaintiff, and (c) the costs of the action.

       45.     As to statutory damages, plaintiffs are entitled to up to $2,000,000

for willful violation or up to $200,000 for non-willful violation.

       46.     This Court may also award attorney’s fees in “exceptional cases.”

    WHEREFORE, KPot requests statutory damages of $2,000,000 or three times its

actual damages, whichever is greater; attorney’s fees; court costs; costs of

litigation; reasonable attorney’s fees; and any other relief that this Court deems just

and proper.


                                    COUNT III
                     Injunctive relief under the Lanham Act

       47.     As outlined above, Infringer violated the Lanham Act.

       48.     15 U.S.C. § 1116 empowers this Court to grant injunctions “to

prevent the violation of any right of the registrant of a [registered] mark.”

       49.     Infringer’s actions have and will cause KPot to suffer irreparable

harm, including without limitation damage to its trademark, loss of good will, loss

of market share, lost business opportunities, lost profits.

       50.     These irreparable harms either cannot be compensated by monetary

damages or would be too difficult to quantify in terms of monetary damages to

permit an award of monetary relief.




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       51.    Restraining violation of a registered mark serves the public interest

by ensuring that consumers have accurate knowledge regarding the restaurant

services that members of the public purchase.

       52.    The balance of equities weighs in KPot’s favor.

    WHEREFORE, KPot requests a permanent injunction prohibiting Infringer from

marketing a restaurant using “KPot,” or “K-Pot,” or any other phrase containing

both the letter “K” and the word “pot” however capitalized; and to no longer use

any domain name including any similar phrase.


                                     Respectfully submitted,

                                         /s/ Donald Benedetto
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Dated: January 25, 2023




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